    Case 2:24-cv-02854-JTM-DPC        Document 17      Filed 01/08/25    Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
 ___________________________________
                                     )  CIVIL ACTION
 Keishanna George.                   )
                                     ) Docket No.      2:24-cv-02854
                      Plaintiff,     )
        v.                           ) District Judge:
                                     ) JANE TRICHE MILAZZO
 Housing Authority of New Orleans,   )
                                     ) Magistrate Judge:
                      Defendant.     ) DONNA PHILLIPS CURRAULT
 ___________________________________

   OPPOSED MOTION TO STAY BRIEFING ON 12(b)(6) MOTION UNTIL
                JURISDICTION IS DETERMINED

    Plaintiff Keishanna George moves that the Court stay briefing and review of

Defendant’s 12(b)(6) motion because a serious issue has been presented as to

whether the court has jurisdiction over this case removed from state court:


   1. This case was originally filed in state court.

   2. The petition does not cite any federal law or regulation. See ECF 1-2.

    3. On December 9, a Section of this Court ruled on another case the Housing

Authority had removed with claims overlapping the claims made in this case.

Current v. Hous. Auth. of New Orleans, No. 24-1883, 2024 WL 5041175 (E.D. La.

Dec. 9, 2024).

    4. The Court found no substantial, contested issue of federal law was as issue

and remanded the case to state court for lack of federal jurisdiction.

    5. Nonetheless two days later the same HANO counsel removed this case from

state court, though its petition does not even cite to federal law. ECF 1-1.



                                           1
    Case 2:24-cv-02854-JTM-DPC         Document 17      Filed 01/08/25    Page 2 of 3




    6. On December 17, Plaintiff filed a motion to remand this case to state court for

lack of federal jurisdiction. ECF 7.

    7. Before briefing that motion, Defendant has chosen to file a 12(b)(6) motion to

dismiss. ECF 13.

    8. Until the Court establishes it has jurisdiction, it cannot proceed to

considering the 12(b)(6) motion.

    9. If the case is remanded to state court, the issues on a motion to dismiss (state

court exception) will differ, as the issues in the 12(b)(6) primarily concerns the

failure of the state court petition to state a claim under federal law, an issue that

will be immaterial in state court.



    Therefore, the Plaintiff respectfully moves that the Court:

    Stay the 12(b)(6) proceedings until it is determined whether the Court has

jurisdiction.

    Alternatively, if this motion is denied, Plaintiff requests one week to prepare and

submit its opposition.

    Defendant’s counsel opposes this motion.

                                         Respectfully submitted,

                                         SOUTHEAST LOUISIANA LEGAL
                                         SERVICES

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                                            2
    Case 2:24-cv-02854-JTM-DPC        Document 17     Filed 01/08/25   Page 3 of 3




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                                        Attorneys for Plaintiff


                                 Certificate of Service
       I hereby certify that on January 8, 2025, I electronically filed this Motion and
attachments using the Court’s CM/ECF system, which will automatically send
copies to all counsel of record. There are no parties unrepresented by counsel and
not being served through the CM/ECF system.

                                               /s/ David Williams




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